Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 1 of 47 PageID #: 258




                   EXHIBIT A
     DECLARATION OF LORI
           SMITH
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 2 of 47 PageID #: 259
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 3 of 47 PageID #: 260
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 4 of 47 PageID #: 261
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 5 of 47 PageID #: 262
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 6 of 47 PageID #: 263
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 7 of 47 PageID #: 264
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 8 of 47 PageID #: 265
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 9 of 47 PageID #: 266
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 10 of 47 PageID #: 267
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 11 of 47 PageID #: 268
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 12 of 47 PageID #: 269
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 13 of 47 PageID #: 270
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 14 of 47 PageID #: 271
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 15 of 47 PageID #: 272
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 16 of 47 PageID #: 273
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 17 of 47 PageID #: 274
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 18 of 47 PageID #: 275
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 19 of 47 PageID #: 276
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 20 of 47 PageID #: 277
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 21 of 47 PageID #: 278
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 22 of 47 PageID #: 279
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 23 of 47 PageID #: 280
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 24 of 47 PageID #: 281
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 25 of 47 PageID #: 282
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 26 of 47 PageID #: 283
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 27 of 47 PageID #: 284
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 28 of 47 PageID #: 285
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 29 of 47 PageID #: 286
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 30 of 47 PageID #: 287
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 31 of 47 PageID #: 288
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 32 of 47 PageID #: 289
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 33 of 47 PageID #: 290
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 34 of 47 PageID #: 291
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 35 of 47 PageID #: 292
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 36 of 47 PageID #: 293
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 37 of 47 PageID #: 294
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 38 of 47 PageID #: 295
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 39 of 47 PageID #: 296
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 40 of 47 PageID #: 297
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 41 of 47 PageID #: 298
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 42 of 47 PageID #: 299
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 43 of 47 PageID #: 300
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 44 of 47 PageID #: 301
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 45 of 47 PageID #: 302
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 46 of 47 PageID #: 303
Case 2:18-cv-00289-JDC-KK Document 37-3 Filed 09/30/19 Page 47 of 47 PageID #: 304
